                               UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION
                              DOCKET NO. 3:20-cv-00226-FDW-DSC


    AMY R. BRYAN, individually and on )
    behalf of all others similarly situated, )
                                             )
            Plaintiff,                       )
                                             )
    vs.                                      )                                        ORDER
                                             )
    ORION CAPITAL SOLUTIONS, LLC,            )
                                             )
            Defendant.                       )



         THIS MATTER is before the Court following Plaintiff’s failure to show cause why the

complaint against Defendant should not be dismissed for failure to prosecute. The Court ordered

Plaintiff, who is represented by counsel, to show cause by April 29, 2021, why she had not filed

an appropriately supported motion under Rule 55 of the Federal Rules of Civil Procedure. Neither

Plaintiff nor her counsel filed any response, and the time for doing so has long expired. In fact,

more than one and a half years have elapsed since Plaintiff filed the Complaint, and to date,

Plaintiff has not submitted any pleading or taken any action in prosecution of this case. It appears

that Plaintiff—and her counsel—have abandoned this action.1




1
  The Court is particularly troubled that Plaintiffs’ counsel did not respond to the Show Cause Order. Here, an
appropriate response could have included a voluntary dismissal pursuant to Fed. R. Civ. P. 41(a), or, if a change in
representation had occurred, counsel should have filed a Motion to Withdraw. Complete silence in response to an
order of this Court is concerning, and counsel is cautioned to take any necessary steps in the future to comply with
similar directives or the Court may not be so lenient in excusing counsel’s non-response. Notably, this is the second
case on this Court’s docket where this counsel has filed a complaint, failed to prosecute the case, and simply not
responded to a show cause order of this Court. See Kamel v. Torio, 3:20-cv-488 (W.D.N.C.).



         Case 3:20-cv-00226-FDW-DSC Document 5 Filed 11/05/21 Page 1 of 2
      IT IS THEREFORE ORDERED that for the reasons stated in the Show Cause Order (Doc.

No. 4), this matter is DISMISSED WITHOUT PREJUDICE. The CLERK OF COURT is directed

to CLOSE THE CASE.

      IT IS SO ORDERED.

                                   Signed: November 4, 2021




     Case 3:20-cv-00226-FDW-DSC Document 5 Filed 11/05/21 Page 2 of 2
